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 1   Paul L. More, SBN 228589
 2   F. Benjamin Kowalczyk, SBN 316796
     McCRACKEN, STEMERMAN & HOLSBERRY
 3   595 Market Street, Suite 800
 4   San Francisco, California 94105
 5   Tel. No.: (415) 597-7200
     Fax No.: (415) 597-7200
 6   E-mail:    pmore@msh.law
 7
 8   Attorneys for Petitioner
 9
10                       UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12
13
       INTERNATIONAL                            Case No.: 2:18-cv-03681-KS
14
       BROTHERHOOD OF
15     TEAMSTERS, LOCAL 396,
16                                              INTERNATIONAL
                        Petitioner,             BROTHERHOOD OF
17
                  vs.                           TEAMSTERS, LOCAL 396’s
18                                              NOTICE OF MOTION TO
19     NASA SERVICES, INC.; and                 COMPEL ARBITRATION
       DOES I through X,
20                                              Date: August 20, 2018, 1:30 p.m.
21                      Defendants.             Judge: Hon. Stephen Wilson
22
                                                Location: Courtroom 10A
23
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     NOTICE OF MOTION TO COMPEL                                CASE NO. 2:18-cv-03681-KS
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 1         TO THE RESPONDENT AND ITS ATTORNEY OF RECORD,
 2   PLEASE TAKE NOTICE that on August 20, 2018 at 1:30 p.m. in
 3   Courtroom 10A of the First Street Courthouse, 350 W. 1st Street, 10th
 4   Floor, Los Angeles, California, Petitioner Teamsters Local 396 (the
 5   “Union”) will and hereby does move the Court for an order compelling
 6   Respondent NASA Services, Inc. to arbitrate its dispute with the Union
 7   pursuant to the arbitration provision in the parties’ October 2014
 8   Memorandum of Agreement. This motion is made following the conference
 9   of counsel pursuant to L.R. 7-3 which took place on June 13, 2018 and July
10   2, 2018.
11         This motion is based on the attached memorandum, the declarations
12   of Jim Smith and Paul L. More, the request for judicial notice and
13   accompanying documents filed herewith, and on the full record in this
14   matter.
15   Dated: July 23, 2018         Respectfully Submitted,
16
17                                McCRACKEN, STEMERMAN &
18                                HOLSBERRY LLP
19
20                                By:   /s/Paul L. More
21                                      Paul L. More
22                                      Attorneys for Petitioner
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     NOTICE OF MOTION TO COMPEL                                CASE NO. 2:18-cv-03681-KS
     Case 2:18-cv-03681-SVW-E Document 21 Filed 07/23/18 Page 3 of 3 Page ID #:72




 1                                PROOF OF SERVICE
 2         STATE OF CALIFORNIA, CITY AND COUNTY OF SAN FRANCISCO
 3
           I am employed in the city and county of San Francisco, State of
 4   California. I am over the age of eighteen years and not a party to the within
 5   action; my business address is- 595 Market Street, Suite 800, San Francisco,
 6   California 94105.
 7           On July 23, 2018 I served a copy of the following document(s) described
 8   as-
 9
            INTERNATIONAL BROTHERHOOD OF TEAMSTERS, LOCAL 396’s
10          NOTICE OF MOTION TO COMPEL ARBITRATION
11
12   on the interested party(ies) to this action as follows-
13   By ECF System - Court’s Notice ofElectronic Filing:
14
            L Brent Garrett
15
            Atkinson Andelson Loya Ruud and Romo
16          12800 Center Court Drive South Suite 300
17          Cerritos, CA 90703
            562-653-3200
18          Fax: 562-653-3333
19          Email: bgarrett@aalrr.com
20
            Attorneys for NASA Services, Inc.
21
22
23         I declare under penalty of perjury under the laws of the State of
     California that the foregoing is true and correct.
24
25          Executed on this 23rd day of July 2018, at S           Francisco, California.
26
27                                                     '—      ’



                                                       Katherine Maddux
                                                                           ^




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                                             1
     CERTIFICATE OF SERVICE                                          CASE NO. 2:18-cv-03681 -KS
